                     IN THE UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

In the Matter of:

         MICHAEL P. CARROLL                                 Case No. 16-32795
                                                            Judge Mary Ann Whipple
                                                            Chapter 7
         Debtor(s)

     DEBTOR MICHAEL P. CARROLL’S MOTION FOR CONTEMPT AGAINST CREDITOR
                        KEYBANK, NATIONAL ASSOCIATION

         Debtor Michael P. Carroll (“Debtor”). through Counsel, and for his Complaint for Damages

against Creditor KeyBank, National Association (“Creditor” or “Key”) hereby states as follows:

I.       PRELIMINARY STATEMENT

                                          INTRODUCTION

         1.     This is an action for actual damages, statutory damages, and legal fees and expenses

filed by Debtor against Creditor for their improper actions and conduct which are not in compliance

with and are in fact in violation of the Discharge Provisions of the United States Code (11 U.S.C. 524,

et seq.).

         2.     Debtor has a private cause of action under 11 U.S.C. §524 pursuant to the 6th Circuit’s

decision in In re Pertuso which states while there is no private right of action for violation of the

discharge injunction, Debtor may bring civil contempt charges against a party they allege has violated

the injunction, and if contempt is established, they may be awarded damages as a sanction for that

contempt pursuant to this Court’s authority under 11 U.S.C. § 105. See Pertuso v. Ford Motor Credit

Co., 233 F.3d 417, 421-23 (6th Cir. 2000); see also Chambers v. Greenpoint Credit (In re Chambers),




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324 B.R. 326, 329 (Bankr. N.D. Ohio 2005). All other statutes that Debtor is seeking a remedy under

their statutory construction.

                                                  PARTIES

        3.      Debtor Michael P. Carroll is the Debtor in the underlying Chapter 7 Petition and is a

natural person residing in the City of Toledo, County of Lucas, State of Ohio and has resided at this

location for all relevant times herein.

        4.      Creditor KeyBank, National Association is a federally chartered bank headquartered in

Cleveland, Ohio.

                                     JURISDICTION AND VENUE

        5.      This Court has subject matter jurisdiction over this matter pursuant to 28 U.S.C. §

1334(b) and the General Order of Reference previously entered in this District. This is a core

proceeding under 28 U.S.C. § 157(b)(2)(A) and (O).

        6.      This Court location is the proper venue for this action under 28 U.S.C. § 1391(b).

        7.      Venue is proper in this District, pursuant to 28 U.S.C. § 1391, because Debtor is a

resident in this District and all claims occurred in this District.

II.     FACTUAL ALLEGATIONS

        8.      Debtor restates and incorporates the allegations contained in Paragraphs 1 through 7 as

if fully rewritten herein.

        9.      Sometime prior to the filing of his Chapter 7 Petition for Relief the Debtor incurred

liabilities on two cognovit notes owed to Creditor that Debtor guaranteed on behalf of two separate

business entities.




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       10.      These cognovit judgments were subject to two pieces of litigation in the Lucas County

Court of Common Pleas that were filed prior to the filing of Debtor’s Chapter 7 Bankruptcy. These

cases were:

             a. KeyBank, National Association v. Carroll Insurance Company, et al, Lucas County

                Court of Common Pleas Case No. G-4801-CI-20153436 (the “3436 case”)

             b. KeyBank, National Association v. The Carroll Mortgage Co. Ltd, et al., Lucas County

                Court of Common Pleas Case No. G-4801-CI-20153437 (the “3437 case”)

       11.      Key filed Certificates of Judgment in both the 3436 and 3437 case on July 28, 2015.

       12.      Key transferred those Certificate of Judgments on June 10, 2016 in both the 3436 and

3437 case.

       13.      On September 2, 2016 the Debtor filed his Chapter 7 Petition for Relief with this Court.

See Docket, Doc. No. 1.

       14.      As part of the filing of his Petitions and Schedules, Debtor listed specific liabilities to

Creditor on Lines 4.1 and 4.2 of Schedule E/F. Id.; see also Id., Doc. 4 at pp. 10-11.

       15.      The Debtor received his discharge on March 1, 2017. Id., Doc. 30. This discharge

included all liabilities owed to Creditor.

       16.      Neither the Notice of Bankruptcy Filing nor the Notice of Debtor’s Discharge issued

and served to the Creditor via the addresses noted in Debtor’s Schedule via the Bankruptcy Noticing

Center (“BNC”) were returned to this Court.

       17.      Despite receipt of the Debtor’s discharge on July 7, 2020 Key renewed their Certificates

of Judgment in the 3436 and 3437 case. These two certificates of judgment were Lucas County Court




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of Common Pleas Lien No. G-4801-LN-020211132-000 and G-4801-LN-020211132-000. See Exhibit

2 generally. (the “Liens”).

       18.     The Debtor did not receive copies of the Liens from either Key or the Lucas County

Court of Common Pleas.

       19.     Sometime during February 2022 as the Debtor was working to refinance his home to

comply with an outstanding obligation from his Decree of Divorce, the Debtor was informed by his

Title Company of the existence of these liens.

       20.     On or about March 1, 2022 the Debtor was notified by his lender that he was cleared to

close with an interest rate lock through March 31, 2022.

       21.     On March 17, 2022 the Debtor, through Counsel, filed the Motion to Reopen his

Chapter 7 Case. See Doc. 34.

       22.     As part of the service of the Motion to Reopen, Debtor, through Counsel, sent

correspondence to Key both via certified mail to its registered agent and to the counsel who filed the

Liens via electronic means, a copy of which is attached as Exhibit 1 to this Complaint, which informed

Key of his intention to proceed with the Motion for Contempt and notifying Key of the issues related to

the refinancing. See Exhibit 1 generally.

       23.     On April 5, 2022 this Court granted Debtor’s Motion to Reopen Case. See Doc. 37.

       24.     Shortly after retaining counsel, Key’s Counsel reached out to Debtor’s Counsel to

expedite the release of the liens.

       25.     The Liens were released on April 12, 2022. See Exhibit 2.

       26.     Armed with the releases of the liens, the Debtor was able to complete closing on April

22, 2022. See Exhibit 3.




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        27.    As a result of the delays caused by Key’s improper placement of the Liens in violation

of the discharge and their delays in releasing the Liens, the Debtor was forced to pay $2,468.18 in

points. Id.

III.    CAUSES OF ACTION

                   COUNT ONE: VIOLATION OF THE DISCHARGE ORDER
                            (11 U.S.C. § 105, 11 U.S.C. § 524)

        28.    The Debtor realleges all allegations contained in Paragraphs 1 through 27 as if fully

restated herein.

        29.    11 U.S.C. § 524(a)(2) states a discharge in a case under this title operates as an

injunction against the commencement or continuation of an action, the employment of process, or an

act, to collect, recover or offset any such debt as a personal liability of the debtor, whether or not

discharge of such debt is waived.

        30.    As stated above the Debtors received their discharge on May 1, 2017.

        31.    Based on the allegations above, supra, despite receiving the Notice of Discharge both

from this Court, Key renewed its Liens against the Debtor on July 6, 2020. See Exhibit 2.

        32.    Based on the allegations above, supra, despite receiving the Notice of the Motion to

Reopen which explicitly put Key on notice of the improper renewal of the Liens, Key failed to release

its Liens until April 12, 2022. See Doc. No. 34; see also Exhibit 2.

        33.    Based on the allegations above, supra, despite receiving Exhibit 1 along with the

Motion to Reopen which both explicitly put Key on notice of the improper renewal of the Lien and

Debtor’s imminent refinancing, Key failed to release its Liens until April 12, 2022. See Doc. No. 34;

see also Exhibits 1 and 2.




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         34.   The actions of the Key demonstrated above are each overt acts to ignore the discharge

and constitute separate and distinct affirmative actions in violation of the Discharge order issued by this

Court.

         35.   The actions of the Creditor demonstrated above are each overt acts to ignore the

discharge and constitute separate and distinct willful actions despite having actual knowledge of the

Debtor’s discharge and also after being put on notice on at least two, if not more, occasions by the

Debtor, either directly or through Counsel, of the Debtor’s discharge and the urgent need for Key to

mitigate its damages.

         36.   As demonstrated by Exhibit 3, Key’s actions in willfully violating the discharge and

failing to timely release the Liens proximately caused the Debtor to suffer $2,468.18 along with the

continued stress, anxiety, and frustrations related to Key’s improper renewal of the Liens in violation of

the Discharge Order.

         37.   As alleged above the Debtor has been directly harmed by the actions of the Creditor and

in order to carry out the provisions of the Code and maintain the integrity of this Court’s orders, this

Court must impose an award of actual damages of at least $2,468.18, punitive damages and legal fees

against Creditor in an amount to be determined at trial pursuant to the provisions of 11 U.S.C. §105.

                                        PRAYER FOR RELIEF

         WHEREFORE, Debtor Michael P. Carroll respectfully requests that this Court enter an Order

granting judgment against Creditor KeyBank, National Association for the following:

         A.    For an award of actual damages against Creditor of at least $2,468.18 and in a total

amount to be determined by the Court for the allegations contained in Count One;




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       B.     For an award of statutory damages in an amount to be determined by this Court against

Creditor for the allegations contained in Count One;

       C.     For an award of punitive damages in an amount to be determined by this Court against

Creditor for the allegations contained in Count One;

       D.     For an award of Debtor’s reasonable attorneys’ fees and costs against Creditor for the

allegations contained in Count One; and

       E.     Granting all such further and other relief as this Court deems just and appropriate.


                                                       Respectfully Submitted,

                                                       /s/Brian D. Flick, Esq
                                                       Brian D. Flick, Esq #0095244
                                                       DannLaw
                                                       15000 Madison Avenue
                                                       Lakewood, OH 44107
                                                       (513) 645-3488
                                                       (216) 373-0536 e-fax
                                                       notices@dannlaw.com
                                                       Attorney for Debtors

                                   CERTIFICATE OF SERVICE

       I hereby certify that, on May 13, 2022, a copy of the foregoing Status Report was served:

Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on the
Court’s Electronic Mail Notice List:

       Ericka S. Parker, Chapter 7 Trustee at esparker@sbcglobal.net

       James M. Perlman, prior counsel for Debtor at jper1@bex.net

       Office of the US. Trustee at (registered address) at usdoj.gov

       KeyBank, National Association, Creditor, at key_bankruptcy_ebnc@keybank.com

And upon the following parties via certified U.S. mail on May 13, 2022:

       KeyBank, N.A., ℅ Christopher M. Gorman, C.E.O, 127 Public Square, Cleveland, OH 44107




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And upon the following parties via ordinary U.S. mail, postage prepaid, on May 13, 2022:

       Michael Carroll, Debtor, at 3712 River Road, Toledo, OH 43614

       KeyBank, N.A. at 4910 Tiedeman Road, Cleveland, OH 44144-2338

And as a courtesy upon the following party via electronic means to:

       Kirk Roessler, Esq. at kreossler@porterwright.com

                                                   /s/ Brian D. Flick, Esq.
                                                   Brian D. Flick, Esq. #0081605
                                                   Attorney for Debtors




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           EXHIBIT 1




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           Cleveland     |   Columbus      |   Cincinnati     |   New Jersey     |     New York




                                         Brian D. Flick, Esq.
    (513) 645-3488                       bflick@dannlaw.com                          (216) 373-0536
    Direct Telephone                            Email                                      Fax

 March 17, 2022
              *** sent via email to Douglas M. Eppler at deppler@walterhav.com

 KeyBank, N.A.
 ℅ Christopher M. Gorman, C.E.O
 127 Public Square
 Cleveland, OH 44107

 Re:    KeyBank, N.A. v. Carroll Insurance Agency, Inc., et al., Lucas County (OH) Court of
        Common Pleas Case No. G-4801-LN-202011132-0000/ CI-02015-503436

        KeyBank. N.A. v. The Carroll Mortgage Co., et al., Lucas County (OH) Court of
        Common Pleas Case No. G-4801-LN-202011133-0000/ CI-02015-503437

        In re Michael P. Carroll, United States Bankruptcy Court for the Northern District of
        Ohio Case No. 16-32795

 To All It May Concern:

 I have recently been retained by Michael P. Carroll related to KeyBank’s continued attempts to
 collect against him despite his in personam discharge of all liabilities owed to KeyBank in the
 above referenced Chapter 7 case.

 KeyBank’s actions have included the renewal of two judgment liens in 2020 against both the
 business entities and Michael P. Carroll personally which are referenced above. These liens were
 renewed by Douglas M. Eppler who will also be receiving this correspondence as well given he
 appears to be the last attorney of record in the common pleas cases.

 The continued existence of these liens is impairing Mr. Carroll’s ability to complete a necessary
 re-financing of real property that is subject to his divorce decree and he faces a very real threat of
 contempt should these liens remain improperly against him.

 This letter shall serve as a demand for KeyBank to remove the liens within the next five (5)
 business days. In addition to filing this letter I have filed a Motion to Reopen his Chapter 7
 Bankruptcy for the sole purpose of filing a Motion for Contempt for KeyBank’s collection efforts
 post-petition which Mr. Carroll will do if these liens are not removed. Time-stamped copies of

 Mailing Address                            DannLaw.com                                 Physical Address
 15000 Madison Avenue                       877-475-8100                                   220 Mill Street
 Lakewood, OH 44107                                                                    Milford, OH 45150

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 the Motions are attached to this letter along with the docket information from the Lucas County
 Court of Common Pleas Clerk.

 Please feel free to contact me directly either via my email or my cell phone (513) 382-5347 at
 your earliest convenience to discuss.

 On behalf of Mr. Carroll, I thank you for immediately taking the appropriate steps to remove the
 liens and providing time-stamped copies of the releases to my attention. Assuming these steps
 are taken by Key, Mr. Carroll will withdraw his Motion to Reopen.

                                             Thank you.

                                             DANNLAW




                                             Brian D. Flick




 Mailing Address                         DannLaw.com                              Physical Address
 15000 Madison Avenue                    877-475-8100                                220 Mill Street
 Lakewood, OH 44107                                                              Milford, OH 45150

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           EXHIBIT 3




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American Land Title Association                                                  ALTA Settlement Statement - Borrower/Buyer
                                                                                                        Adopted 05-01-2015

File No./Escrow No.: 2239462                    Midland Title and Escrow, Ltd.
Print Date & Time: 04/22/22 9:30 AM              ALTA Universal ID: 0000000
Officer/Escrow Officer: Chelsea Tabb                 401 Adams Street
Settlement Location:                                 Toledo, OH 43604
Midland Title & Escrow-Maumee
3355 Briarfield Dr
Maumee, OH 43537

Property Address:                          3712 W. River Rd. Toledo, OH 43614
                                           3712 W. River Rd.
                                           Toledo, OH 43614

Borrower:                                  Michael Patrick Carroll and Jody Carroll, husband and wife
                                           3712 River Road
                                           Toledo, OH 43614

Seller:
Lender:                                    Union Home Mortgage Corp., It's Successors and/or Assigns, as their respective
                                           interests may appear, 8241 Dow Circle W., Strongsville, OH, 44136
Loan Number:                               788721
Settlement Date:                           04/22/2022
Disbursement Date:                         04/27/2022
Additional dates per state requirements:




                                       Description                                                  Borrower/Buyer
                                                                                                 Debit          Credit
Financial
Loan Amount                                                                                                      $286,000.00

Loan Charges to Union Home Mortgage Corp., It's Successors and/or Assigns, as their
respective interests may appear
0.863% of Loan Amount (Points)                                                                    $2,468.18
Fraud review fee                                                                                    $165.00
Underwriting fee                                                                                  $1,850.00
Prepaid Interest $56.8082 per day from 04/27/2022 to 05/01/2022)                                    $227.23

Other Loan Charges
Appraisal fee $475.00 Borrower-Paid Before Closing
Appraisal fee                                                                                       $125.00
MERS (R) Registration fee                                                                            $24.95
Tax service                                                                                          $68.00

Impounds
Homeowner's Insurance $230.23 per month for 6 mo.                                                 $1,381.38
Property Taxes $611.51 per month for 6 mo.                                                        $3,669.06




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                                       Description                                    Borrower/Buyer
                                                                                   Debit          Credit
Title Charges & Escrow / Settlement Charges
Title - Abstract or Search Fee to Midland Title and Escrow, Ltd.                      $250.00
Title - Chain of Title to Midland Title and Escrow, Ltd.                               $50.00
Title - CPL to Midland Title CPL Remittal                                              $40.00
Title - Deed Preparation to Donald M. Mewhort III, Esq./Sandra M. Hylant, Esq.
Title - E Recording Fees to Midland Title and Escrow, Ltd.
Title - Electronic Doc & Filing Service Fees to Midland Title and Escrow, Ltd.         $35.00
Title - Environmmental Protection w/9 to Midland Title and Escrow, Ltd.                $75.00
Title - Insurance Binder to Midland Title and Escrow, Ltd.                            $100.00
Title - Lender's Title Insurance($710.50) to Midland Title and Escrow, Ltd.           $710.50
Title - Settlement or Closing Fee to Midland Title and Escrow, Ltd.                   $285.00
Title - Shipping & Handling to Midland Title and Escrow, Ltd.                          $90.00
Title - Survey-Lender to Midland Title and Escrow, Ltd.                                $50.00
Title - Wire Fees to Midland Title and Escrow, Ltd.                                    $30.00

Government Recording and Transfer Charges
Recording Fee (Deed) to Lucas County Recorder                                          $42.00
Recording Fee (Mortgage) to Lucas County Recorder                                      $58.00
Transfer Tax to Lucas County Auditor                                                    $0.50
Record -
Recording Non-Compliance Fees

Payoff(s)
Payee:         Payoff of First Mortgage to Union Home Morgage                      $227,780.62
                  Total ($227,780.62)

Miscellaneous
County Taxes TD:
Survey
                                                                                       Borrower/Buyer
                                                                                    Debit          Credit
Subtotals                                                                          $239,575.42    $286,000.00
Due To Borrower                                                                     $46,424.58
Totals                                                                             $286,000.00    $286,000.00




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Acknowledgement
We/I have carefully reviewed the ALTA Settlement Statement and find it to be a true and accurate statement of all receipts
and disbursements made on my account or by me in this transaction and further certify that I have received a copy of the
ALTA Settlement Statement. We/I authorize Midland Title and Escrow, Ltd. to cause the funds to be disbursed in accordance
with this statement.




*^es1.b1.50,20.r                         *^ed1.b1.30,20.r
_________________________                ___________
Michael Patrick Carroll                   Date




*^es2.b1.50,20                           *^ed2.b1.30,20
_________________________                ___________
Jody Carroll                              Date




_________________________________________________             ____________
Closing Agent                                                  Date




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